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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

LUBB<)CK DIVISION
UNITED sTATEs OF AMERICA )
)
v. ) NO. 5;18-CR-059-01-C
) ECF
DERRICK ALAN THOMAS )
Q_R_D_EB

The Court having considered Defendant’s Motion to Dismiss the Indictment as it is Based
0n an Unconstitutional Statute and for F ailure to State a F ederal Offense, for Lack of Federal

Jurisdiction flled July 13, 2018, is Of the Opinion that the same should be DENIED.

QWW

SAMA(. CU GS
SENIOR UNI D TATES D sT CT JUDGE

SO ORDERED.

Dated July [ 2 , 2018.

      

 

 

